Case 1:16-cr-10343-ADB Document 246 Filed 11/24/17 Page 1 of 19
                                                                       1




                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS

 ***************************

 UNITED STATES OF AMERICA,
          Plaintiff

 vs.                                    Case No. 1:16-cr-10343-ADB-7

 JOHN KAPOOR,
          Defendant

 ***************************

            TRANSCRIPT OF INITIAL APPEARANCE/ARRAIGNMENT
               BEFORE THE HONORABLE JENNIFER C. BOAL
                      AT BOSTON, MASSACHUSETTS
                        ON NOVEMBER 16, 2017

 APPEARANCES:

 For the Plaintiff:
 K. Nathaniel Yeager, Assistant United States Attorney
 Susan M. Poswistilo, Assistant United States Attorney
 David G. Lazarus, Assistant United States Attorney
 United States Attorney's Office
 1 Courthouse Way, Suite 9200
 Boston, Massachusetts 02210
 617-748-3267

 For the Defendant:
 Brian T. Kelly, Esquire
 Robert A. Fisher, Esquire
 Nixon Peabody, LLP
 100 Summer Street
 Boston, Massachusetts 02210
 617-345-1000


 Transcriber:    Karen M. Aveyard,
                 Approved Federal Court Transcriber

       -----------------------------------------------------
                         TRANSCRIPTION PLUS
                           1334 ELM STREET
                  LEOMINSTER, MASSACHUSETTS 01453
                           (978) 466-9383
                       k.aveyard@comcast.net
     Case 1:16-cr-10343-ADB Document 246 Filed 11/24/17 Page 2 of 19
                                                                                  2




 1                              P R O C E E D I N G S

 2

 3               THE CLERK:    Today is November 16, 2017.      We're on the

 4    record in the matter of United States v. John Kapoor.            Case

 5    number is 16-cr-10343.

 6               Will counsel please identify themselves for the

 7    record.

 8               MR. YEAGER:    Good morning, your Honor.      Nathaniel

 9    Yeager for the United States.

10               MS. POSWISTILO:    Susan Poswistilo for the United

11    States.

12               MR. LAZARUS:    And David Lazarus for the United States.

13    Good morning, your Honor.

14               THE COURT:    Good morning.

15               MR. KELLY:    Good morning.    Brian Kelly and Robert

16    Fisher for John Kapoor.

17               THE COURT:    Good morning.

18               MR. FISHER:    Good morning.

19               THE COURT:    Mr. Kapoor, if you could please stand.         I

20    understand that you already would have received a reading of

21    your rights in Arizona, but they're important rights, so I'm

22    going to go over them again.

23               The purpose of this proceeding is to advise you of the

24    charges that have been filed against you, to advise you of your

25    rights, including your right to remain silent and your right to
     Case 1:16-cr-10343-ADB Document 246 Filed 11/24/17 Page 3 of 19
                                                                           3




 1    counsel, to consider the appointment of counsel for you, to

 2    consider detention, and to set a date for your next court

 3    appearance.    Your initial appearance is not a trial and you

 4    will not be asked to comment on the charges that are pending

 5    against you.

 6               I want to confirm that you understand that you have

 7    the right to remain silent.       You do not have to make a

 8    statement and anything that you do say may be held against you.

 9    If you choose to make a statement or answer any questions, you

10    may stop answering at any time if you change your mind.

11               Do you understand?

12               THE DEFENDANT:    Yes, your Honor.

13               THE COURT:    You also have the right to be represented

14    by an attorney at any critical stage of the proceedings against

15    you.   You may consult with an attorney before you are asked any

16    questions and you may have an attorney present while you are

17    questioned.    If you cannot afford an attorney, counsel will be

18    appointed for you without charge.

19               Do you understand?

20               THE DEFENDANT:    Yes, your Honor.

21               THE COURT:    And do you wish the Court to appoint

22    counsel for you or do you wish to retain your own counsel?

23               THE DEFENDANT:    My own counsel, please.

24               THE COURT:    You have been charged in an indictment

25    with racketeering conspiracy, in violation of 18, United States
     Case 1:16-cr-10343-ADB Document 246 Filed 11/24/17 Page 4 of 19
                                                                         4




 1    Code, Section 1962; mail fraud conspiracy, in violation of

 2    18, United States Code, Section 1349; wire fraud conspiracy, in

 3    violation of 18, United States Code, Section 1349; conspiracy

 4    to violate antikickback law, in violation of 18, United States

 5    Code, Section 371; and there are also forfeiture allegations.

 6               Do you have a copy of the indictment?

 7               THE DEFENDANT:    Yes, your Honor.

 8               THE COURT:    You may be seated.

 9               If the Government could please state the maximum

10    potential penalties.

11               MR. YEAGER:    Thank you, your Honor.

12               With regard to Count 1, racketeering conspiracy,

13    Mr. Kapoor faces a maximum of 20 years in prison, a fine the

14    greater of $250,000 or twice the amount of (inaudible) gain or

15    loss, three years supervised release and a special assessment

16    of $100.    In addition, notice of forfeiture is provided in the

17    indictment.

18               Count 2, conspiracy to commit mail fraud, Mr. Kapoor

19    faces a 20-year possibility of imprisonment, a fine the greater

20    of $250,000 or twice the amount of (inaudible) gain or loss, a

21    supervised release of three years and a special assessment of

22    $100.   Again, notice of forfeiture is provided in the

23    indictment.

24               Count 3, conspiracy to commit wire fraud, the maximum

25    penalty is 20 years, a fine the greater of $250,000 or twice
     Case 1:16-cr-10343-ADB Document 246 Filed 11/24/17 Page 5 of 19
                                                                          5




 1    the amount of (inaudible) gain or loss, a supervised release

 2    period is three years, the special assessment would be $100,

 3    and again, notice of forfeiture is provided in the indictment.

 4                With regard to Count 4, conspiracy to violate the

 5    antikickback statute, the maximum penalty is five years, the

 6    maximum fine is $25,000, the supervised release period is three

 7    years, the special assessment is $100, and notice of forfeiture

 8    was provided in the indictment.

 9                THE COURT:   I know there's a motion to modify

10    Mr. Kapoor's conditions of release, but why don't we go through

11    the arraignment part of the proceeding first.

12                So, Mr. Kapoor, if you could please stand again.

13                Have you had the opportunity to review the indictment

14    with your attorneys?

15                THE DEFENDANT:   Yes, your Honor.

16                THE COURT:   And do you understand generally the

17    charges that are pending against you?

18                THE DEFENDANT:   Yes, your Honor.

19                THE COURT:   Are you prepared to enter a plea of not

20    guilty today?

21                THE DEFENDANT:   Yes, your Honor, not guilty.

22                THE COURT:   Do you waive the reading of the indictment

23    out loud?

24                THE DEFENDANT:   Yes, your Honor.

25                THE COURT:   Mr. York, if you could please take
     Case 1:16-cr-10343-ADB Document 246 Filed 11/24/17 Page 6 of 19
                                                                           6




 1    Mr. Kapoor's plea.

 2               THE CLERK:    Mr. Kapoor, as to Count 1 of the first

 3    superseding indictment charging you with racketeering

 4    conspiracy, in violation of Title 18, United States Code,

 5    Section 1962(d), how do you plead, guilty or not guilty?

 6               THE DEFENDANT:    Not guilty.

 7               THE CLERK:    As to Counts 2 and 3 of the first

 8    superseding indictment charging you with -- sorry.           As to

 9    Count 2 of the first superseding indictment charging you with

10    mail fraud conspiracy, in violation of Title 18, United States

11    Code, Section 1349, how do you plead, guilty or not guilty?

12               THE DEFENDANT:    Not guilty.

13               THE CLERK:    And as to Count 3 of the first superseding

14    indictment charging you with wire fraud conspiracy, in

15    violation of Title 18, United States Code, Section 1349, how do

16    you plead, guilty or not guilty?

17               THE DEFENDANT:    Not guilty.

18               THE CLERK:    And as to Count 4 of the first superseding

19    indictment charging you with conspiracy to violate the

20    antikickback law, in violation of Title 18, United States Code,

21    Section 371, how do you plead, guilty or not guilty?

22               THE DEFENDANT:    Not guilty.

23               THE CLERK:    You may be seated.

24               THE COURT:    Mr. Kelly, do you wish to receive

25    automatic discovery?
     Case 1:16-cr-10343-ADB Document 246 Filed 11/24/17 Page 7 of 19
                                                                               7




 1               MR. KELLY:    Yes, your Honor, we do.

 2               THE COURT:    And how long will it take the Government

 3    to provide Mr. Kapoor's attorneys with automatic discovery?

 4               MR. YEAGER:    We've already begun, your Honor.       We've

 5    provided discovery with regard to the previous defendants and

 6    we intend to provide the 28-day discovery by Tuesday of next

 7    week.

 8               THE COURT:    And we have -- already, Mr. Kelly, we have

 9    scheduled a number of status conferences.         The first one is

10    December -- the next one, really, is December 19th at 3:30,

11    followed by one on January 18th at 11:30 and March 8th at

12    11:30.   At least for the other defendants, we have excluded the

13    time through March 8th.

14               Do you agree to exclude the time through March 8th?

15               MR. KELLY:    Yes, we do, your Honor.

16               THE COURT:    Now, moving on to the motion to modify the

17    conditions of release, my first question is does the Government

18    oppose the motion to modify?

19               MR. YEAGER:    Yes, your Honor, the United States

20    objects to modifying the conditions of release.

21               THE COURT:    And what -- I understand -- perhaps you

22    could tell me a little bit about -- it's not clear to me, and

23    why I'm asking these questions is whether this motion is

24    properly before me or Judge Burroughs, it wasn't clear to me

25    what type of hearing occurred in Arizona.         I do note that
     Case 1:16-cr-10343-ADB Document 246 Filed 11/24/17 Page 8 of 19
                                                                                8




 1    Mr. Kapoor signed a form that appears to preserve his rights to

 2    a detention hearing here in Massachusetts.

 3               MR. YEAGER:    He did, although I would note that the

 4    docket notes that we have access to, which I think I provided

 5    to Mr. York earlier today, indicated there was a detention

 6    hearing in Arizona.

 7               I think to get to the bottom line on it, your Honor,

 8    Mr. Kapoor has a balance of factors that the United States took

 9    into consideration.      He has access to a very large sum of

10    money.   I think that the probation report -- the Government has

11    a better understanding, I think, of his access to money.             We

12    believe he has access to at least $2 billion.          He owns a huge

13    amount of a company called Akorn Pharmaceuticals, which was

14    purchased by Fresenius, a Massachusetts corporation, in April

15    of this year.     He owns a substantial number of shares of the

16    stock related to that purchase, which right now is restricted,

17    but we, from public filings, understand will become available

18    any day now.    That by itself is worth $1 billion.         He has

19    indicated to Probation in excess of $100 million and we believe

20    it's far, far more than that.

21               So that creates a concern on the one hand because, you

22    know, he has access to leave the country.         We can't control

23    anything other than -- we can monitor commercial airlines, as

24    your Honor knows, but we can't monitor private aircraft.             In

25    addition, he lives in Arizona.       If he were to leave the United
     Case 1:16-cr-10343-ADB Document 246 Filed 11/24/17 Page 9 of 19
                                                                              9




 1    States for Mexico or Canada, it would be very easy, based on

 2    the means that he has, for him to obtain a flight to any number

 3    of countries that do not have extradition treaties with the

 4    United States.

 5                So in considering that information, we spoke to

 6    counsel for the defendant right after his arrest on the morning

 7    of October 26th.     We indicated our intention to go forward on a

 8    detention hearing and we asked whether or not there was a way

 9    we could agree on all conditions.        And the parties agreed.   We

10    agreed on many of the conditions that ultimately Judge Burns

11    imposed, including a $1 million cash bond, restrictions on

12    travel that are included in the conditions that are imposed by

13    Judge Burns, as well as electronic monitoring.

14                The defendant posted the bail and he was shortly

15    thereafter placed on a bracelet.        He's been on a bracelet ever

16    since.   So nothing has changed since that moment.

17                I would point out that all of the arguments that the

18    defendant makes in their Motion to Modify Conditions were

19    available to the defendant in Arizona and those arguments were

20    not made.    In fact, they agreed to the conditions as they

21    exist.

22                THE COURT:   Which is one of the reasons why I'm asking

23    if there's an appeal or a change in conditions, and that would

24    suggest to me whether or not it should be in front of me or

25    Judge Burroughs.
     Case 1:16-cr-10343-ADB Document 246 Filed 11/24/17 Page 10 of 19
                                                                             10




 1               Do you have a position on that?

 2               MR. YEAGER:    So I think, based on my reading of the

 3     caselaw, and I recognize that the caselaw is growing in this

 4     area, I believe he's entitled to one detention hearing and that

 5     detention hearing occurred in Arizona.

 6               THE COURT:    But you haven't answered my question.

 7               MR. YEAGER:    So that would mean that he has to go to

 8     Judge Burroughs.

 9               THE COURT:    Okay.   And I know you've told me that he

10     has a lot of money, but other than the money, what is your

11     evidence of a risk of flight?

12               MR. YEAGER:    Well, I would say that the two factors I

13     think the Court should take into consideration are the fact of

14     the quantity of money that he has.        In addition, the strength

15     of the evidence against Mr. Kapoor.

16               THE COURT:    So I guess what you're telling me you have

17     no evidence that other than he has money, he has taken no

18     actions that indicate to you that he intends to flee?

19               MR. YEAGER:    We're not aware of any actions he's taken

20     if he intended to flee.      We would have moved to detain -- we

21     would have not agreed to these conditions if we were aware of

22     specific actions other than what we've talked about, other

23     information that we've talked about.

24               So I don't -- he's a permanent resident of the United

25     States.   He's lived in Phoenix for a long time.         He has family
     Case 1:16-cr-10343-ADB Document 246 Filed 11/24/17 Page 11 of 19
                                                                               11




 1     there.   Those things are all true.       I could have asked for

 2     money to secure his presence, your Honor, but the truth is that

 3     the amount of money that he has, we could never truly secure

 4     his presence.    If he leaves, he has resources that he could

 5     stay in another country forever.       We'd have a very difficult

 6     time getting him back.

 7                 So based on that, that's why we're asking for this

 8     middle ground of a bracelet.

 9                 THE COURT:   Alright.   Thank you.

10                 MR. KELLY:   Yes.   Good morning, your Honor.

11                 So just procedurally so the Court knows, I do believe

12     it's properly in front of this Court.        There was no detention

13     hearing in Phoenix.      I did, in fact, appear in Phoenix and

14     there was no detention hearing.       His conditions were set.     At

15     the time, the Government advised it was going to seek a

16     detention hearing if we did not acquiesce to an electronic

17     monitoring bracelet.

18                 Now, the defendant is a 74-year-old man, he had been

19     arrested at 7 a.m. by a dozen armed agents, and the prospect of

20     sitting in jail waiting for the mandatory three-day detention

21     hearing, and this was a Thursday until Monday, was not very

22     inviting.    So there was never any promise that we wouldn't seek

23     modifications of the conditions of release and that's what

24     we're doing here today.

25                 The defendant has, in fact, already posted a
     Case 1:16-cr-10343-ADB Document 246 Filed 11/24/17 Page 12 of 19
                                                                               12




 1     significant bond of $1 million.       Perhaps contrary to the

 2     suggestion in the report, he's already surrendered his

 3     passport.    I think this report was taken the day of his arrest

 4     and the reference to his passport being at home is from that

 5     day, not now.    So the Government has his passport.        He can't go

 6     anywhere.

 7                 He's restricted to travel within Maricopa County where

 8     he lives in the Phoenix area, where he's been for over 20

 9     years.    He is, in fact, a citizen of this country.        He's been

10     here for more than 50 years.       He doesn't have a citizenship in

11     any other country; he's not interested in going to any other

12     country.    We believe that the Bail Reform Act simply does not

13     require that he wear this bracelet.        It requires the least

14     restrictive means possible.

15                 The burden is on the Government.      The caselaw is clear

16     that they have to establish that this condition is necessary,

17     and it really isn't.

18                 Now, it's not the defendant's burden, but, in fact, in

19     this case he's already proven he's not a flight risk.            And why

20     do I say that?    Although it's not his burden, he's proved he's

21     not a flight risk in many ways.       He's known about this

22     investigation since back in 2013 when the first subpoena was

23     served.    He's known he's been a target of the Government's

24     investigation.    Indeed, last December his co-defendants were

25     arrested.    If someone who is wealthy wants to flea, that's the
     Case 1:16-cr-10343-ADB Document 246 Filed 11/24/17 Page 13 of 19
                                                                              13




 1     time to leave town.     He didn't leave town.      He stays here.

 2     He's going to fight the defendant's good name.         He believes

 3     he's not guilty, there's no proof that he's guilty, and he's

 4     presumed guilty.

 5               So that is the test, and, frankly, you know, there's

 6     another test even more recently.       In early September, through

 7     no fault of the Government, I understand it was an inadvertent

 8     bureaucratic mixup, but, in fact, a letter was inadvertently

 9     leaked out to the press that he was named as a co-conspirator

10     by the Government in its automatic discovery letters.            I'm not

11     complaining; I'm not blaming the Government.         These things

12     happen.   But the reason I raise it is because it is extremely

13     strongproofed that he knew he was under the Government sights.

14     He knew he was a target.

15               His co-defendants have already been arrested.           He gets

16     that notice.    He could have fled then with all his wealth.         And

17     we don't dispute he's made a lot of money in his life and that

18     shouldn't be held against him.       There's nothing in the Bail

19     Reform Act that says people with money are treated differently

20     than people without money, because the Government can just flip

21     this argument around and say well, this person has no money,

22     what do they have to lose, they'll run.        Now they're saying

23     well, he's got so much money, he'll run.

24               In fact, his money is one of the many reasons, besides

25     the fact he has no intention of running away, he's not going to
     Case 1:16-cr-10343-ADB Document 246 Filed 11/24/17 Page 14 of 19
                                                                                 14




 1     leave all this money on the table.        If he runs away, the

 2     Government gets all his assets.       Why should he leave.       He has

 3     no interest in leaving, he's proven that already in this case,

 4     and if you look at the weight of the evidence here, you know,

 5     the indictment is really pretty thin on him.         They talk about

 6     e-mails, they talk about statements, all with respect to the

 7     co-defendants.    With him, it's oh, he's blind copied on an

 8     e-mail.    That's not exactly, in my opinion, something that's

 9     going to be proved beyond a reasonable doubt at trial, and the

10     defendant believes that too.       The defendant wants to fight this

11     case and he's going to go to trial.

12                Now, certainly the charges are serious.        Any felony

13     charge in Federal Court is serious.        But the six co-defendants,

14     they're facing the same charges.       In fact, none of them have

15     bracelets because it's not necessary for them either.            In fact,

16     one of them, the lead defendant, he's only the seventh

17     defendant, but the number one defendant, Babich, he's a wealthy

18     guy too.    He lives in Arizona.     He's got no bracelet.

19                So we think the defendant deserves the same

20     consideration.    We think it's totally unnecessary.        It's not

21     required by the Bail Reform Act.       We don't dispute he has

22     assets, but that's, in our view, a reason he's going to stay

23     here.   He intends to fight this case and he wants to be

24     vindicated, and we think he will be vindicated.

25                So we would ask the Court to take those factors into
     Case 1:16-cr-10343-ADB Document 246 Filed 11/24/17 Page 15 of 19
                                                                               15




 1     consideration and order that the bracelet be removed.

 2                THE COURT:    Thank you.

 3                MR. YEAGER:    May I respond briefly, your Honor?

 4                THE COURT:    Yes.

 5                MR. YEAGER:    So there's a couple points I would like

 6     to make with regard to Mr. Kelly's argument.         The first is, you

 7     know, it's true that Mr. Kapoor was aware of the ongoing

 8     investigation of him.     We had regular conversations with his

 9     attorney, and there's many other factors that make it clear he

10     knew about the potential indictment and didn't run.          He cites

11     in his motion to modify conditions several cases, one of which

12     is from this district, Simone, and there's two others.           Two of

13     the three cases that he cites, the defendants ultimately were

14     released on bail with conditions of release, including the

15     Simone case that he relies on.

16                So the Simone case, fine, yes, you can consider his

17     willingness to stay despite the fact that he knows he's a

18     target, but then that same judge considered that and released

19     the defendant on a bracelet, as well as 24-hour home arrest.

20                You know, in addition, we reached agreement with

21     defense counsel in Arizona, your Honor.        We did so believing

22     that he agreed that these were reasonable conditions for

23     release.   Now we're standing before your Honor having to argue,

24     based on what Mr. Kelly is saying, that the statute doesn't

25     apply.   We already agreed that the statute applied in Arizona.
     Case 1:16-cr-10343-ADB Document 246 Filed 11/24/17 Page 16 of 19
                                                                          16




 1                 I think the argument about money that he's making is

 2     pretty offensive.     It is, therefore, because of it --

 3                 THE COURT:    I'm sorry, what statute applied?

 4                 MR. YEAGER:    The bail factors.   The bail factors

 5     should be -- we have the burden to establish all the bail

 6     factors despite the fact that he agreed that we did so in

 7     Arizona.    So he agreed that the conditions were appropriate

 8     under the bail statute in order to assure his client appeared

 9     at trial.

10                 But as far as the money he's making about -- the

11     argument that he's making about money, your Honor, he's saying

12     that because his client is very wealthy, that he stands to lose

13     a lot of money if he flees, and that argument, your Honor, at

14     its core, is if I'm wealthy, I don't have a risk of flight, and

15     it's an offensive argument.      What we're saying is you need

16     consider -- we're asking the Court to consider the fact that he

17     does have a lot of money, that there are reasonable conditions

18     that don't require him to be held in custody, but that can

19     ensure his presence here, and that is a bracelet.

20                 THE COURT:    Why is it a bracelet as opposed to

21     electronic monitoring with a curfew so at least you get some

22     idea?

23                 Why does he have to be on a GPS?

24                 MR. YEAGER:    So the way the conditions are written in

25     Arizona, your Honor, was that it's determined by the Pretrial
     Case 1:16-cr-10343-ADB Document 246 Filed 11/24/17 Page 17 of 19
                                                                               17




 1     Services Officer.     I checked with the Pretrial Services Officer

 2     last night.    They put him on GPS monitoring.       So we're open to

 3     a bracelet without GPS if that's something the Court thinks is

 4     appropriate, and I think that that's splitting hairs.            But that

 5     decision was ultimately made by the Pretrial Services Officer

 6     in Arizona.

 7               THE COURT:    Mr. Kelly, what about --

 8               MR. KELLY:    Yeah.   I don't know what's offensive about

 9     refuting his argument.      It's his argument that because the guy

10     has money, he should have a bracelet on, and I'm saying that's

11     not an appropriate argument.       A person's wealth or lack of

12     wealth is not the guiding factor here.

13               And of course the Bail Reform Act applies to this

14     situation.    We've never said otherwise.

15               Now, again, as I indicated, if the defendant, upon

16     arrest at 7 a.m., is looking at three or four days in jail in

17     Phoenix, of course he's going to agree to a bracelet versus

18     detention.    There was never any agreement that forevermore this

19     could not be revisited, and that's what we're asking the Court

20     to do.   He's presented no evidence of risk of flight other than

21     the abstract notion that he's rich, hence he might run.           But

22     the guy hasn't left the country since April of 2016 for

23     vacation in Mexico.     All of his friends and family, his

24     charitable works, his businesses, are in the Phoenix area.

25     That's where he lives.      He's not going to desert the U.S.A.
     Case 1:16-cr-10343-ADB Document 246 Filed 11/24/17 Page 18 of 19
                                                                             18




 1     because of this case.     He doesn't believe it's a strong case.

 2     He wants to fight this case.       And under the Bail Reform Act,

 3     what's the least restrictive measures that can be taken to

 4     assure his appearance?      He'll be back whenever the Court wants

 5     him.

 6               So we strongly urge the Court to modify this

 7     condition.

 8               THE COURT:    And what about Mr. Yeager's suggestion

 9     about a different type of electronic monitoring?

10               MR. KELLY:    Well, it's the cumbersome device on his

11     foot.

12               THE COURT:    I see.

13               MR. KELLY:    That's the problem.      That's what we're

14     interested in having you look at.

15               THE COURT:    Alright.    Thank you very much.     I will

16     take it under advisement.

17

18               (The hearing was concluded.)

19

20

21

22

23

24

25
Case 1:16-cr-10343-ADB Document 246 Filed 11/24/17 Page 19 of 19
                                                                   19




                        C E R T I F I C A T I O N



            I, Karen M. Aveyard, Approved Federal Court

  Transcriber, do hereby certify that the foregoing transcript,

  consisting of 18 pages, is a correct transcript prepared to the

  best of my skill, knowledge and ability from the official

  digital sound recording of the proceedings in the

  above-entitled matter.




  /s/ Karen M. Aveyard

  Karen M. Aveyard



  November 22, 2017

  Date
